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                                                     IN THE UNITED STATES BANKRUPTCY COURT
                                                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                                                RICHMOND DIVISION
                             In re:
                             AGNES LAVARRA VENEY
                                                                                            CHAPTER 13
                             AKA LAVARRA AGNES VENEY,
                                             DEBTOR.                                        CASE NO. 19-34756-KLP
                             NEW REZ LLC DBA SHELLPOINT MORTGAGE
                             SERVICING AS SERVICER FOR U.S. BANK, N.A., AS
                             TRUSTEE, SUCCESSOR IN INTEREST TO WACHOVIA
                             BANK, NATIONAL ASSOCIATION, AS TRUSTEE, FOR
                             MID-STATE TRUST XI,

                                         MOVANT,
                             vs.
                             AGNES LAVARRA VENEY
                             ANASTASIA JOHNSON, CODEBTOR
                             RODNEY JOHNSON, CODEBTOR
                             and SUZANNE E. WADE, TRUSTEE,

                                             RESPONDENTS.

                                                      ORDER GRANTING MODIFICATION OF STAY

                                     The Motion of the Movant, New Rez LLC dba Shellpoint Mortgage Servicing as servicer for
                             U.S. Bank, N.A., as Trustee, successor in interest to Wachovia Bank, National Association, as
                             Trustee, for Mid-State Trust XI, to amend the Automatic Stay having been properly served, and
                             upon agreement by Counsel,

                                     It appears that Debtor and the Codebtor is in possession of a certain real property located
                             at 2574 Irvington Road, Weems, VA 22576, and more particularly described as follows:

                                             All of those certain lots, places or parcels of land, together with
                                             any improvements thereon and all appurtenances thereunto
                                             appertaining, situate, lying and being on the westerly side of
                                             Virginia, State Highway Route No. 3, in White Stone Magisterial
                                             District, Lancaster County, Virginia, consisting of a total of 1.056
                                             acres shown as Lots 2 and 3 on a certain plat of survey entitled
                                             "Lot Location Survey Albert Walter Veney and Agnes L. Veney"
                                             dated November 18, 1983, revised July 23, 1984, made by Tomlin,
                                             Keyser & Dillard, P.C., Certified Land Surveyors, a copy of which
                                             plat is to be recorded herewith as a part hereof, and reference to
                                             which is expressly made for a more accurate description. (Plat
                                             recorded in Book 286, Page 343-344, public records of Lancaster
                                             County, Virginia.)
                                             Together with a perpetual easement of right of way over and
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                    across Lots 4 and 5 for the purpose of ingress and egress to and
                    from Virginia State Highway Route No. 3 and the property hereby
                    conveyed, together with others having a right thereto.

                    Being the same property conveyed to ALBERT WALTER VENEY,
                    and AGNES L. VENEY, husband and wife, by deed from HARRIET
                    V. WRIGHT, widow; NELLIE V. HARDY, and GEORGE HARDY, her
                    husband; AGNES L. RICE, widow, ALBERT WALTER VENEY and
                    AGNES L. VENEY, his wife; WILBERT VENEY and HATTIE VENEY
                    his wife; ROBERT J. COOPER, widower; WILLIE ANN DlGGS and
                    NORMAN DIGGS, her husband; JAMES H. VENEY, divorced;
                    DELOISE V. CARTER and LAURENCE CARTER, her husband;
                    ETHEL BAYLOR and ROBERT BAYLOR, her husband; LEROY
                    VENEY, unmarried; MELVIN E. VENEY, SR., and CAROLINE
                    VERONICA VENEY, his wife; and GlLBERT VENEY and OMELlA D.
                    VENEY, his wife, dated March 30th 1988 and recorded in Deed Book
                    286 Page 334, Lancaster County, Virginia.

            Upon consideration of the foregoing, it is ORDERED:
               1. Debtor will resume making all future regular monthly installment payments
                   in the amount of $701.41, pending further notice from the mortgage
                   company, as they become due commencing July 5, 2020.

                2. Debtor will cure any arrearage currently due to the Movant for the months
                   of February 5, 2020 through June 5, 2020, in the total amount of
                   $1,479.45, which arrears were calculated as follows:

       Number            of From              To             Monthly       PaymentTotal Payments
       Payments                                              Amount
       5                    02/05/2020        06/05/2020     $701.41                $3,507.05
       Motion For Relief ± Legal Fees & Cost                                        $731.00
       Payment Received ± 5/1/2020                                                  ($1,362.83)
       Payment Received ± 5/29/2020                                                 ($700.00)
       Less post-petition partial payments (suspense balance):                      ($695.77)
                                                                              Total:$1,479.45

                          a. The arrearage amount set forth herein is contingent upon the
                             sufficient clearing of any previously applied post-petition funds.

                    b.        Payment due on or before July 19, 2020 in the amount of $246.58.

                    c.        Payment due on or before August 19, 2020 in the amount of
                              $246.58.

                    d.        Payment due on or before September 19, 2020 in the amount of
                              $246.58.

                    e.        Payment due on or before November 19, 2020 in the amount of
                              $246.57.

                    f.        Payment due on or before December 19, 2020 in the amount of
                              $246.57.
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                      g.            Payment due on or before January 19, 2021 in the amount of
                                    $246.57

                      h.        All future payments made pursuant to the terms of this Order
                                should be forwarded to the following address until further
                                notice:

                                                     NewRez LLC d/b/a Shellpoint Mortgage Servicing
                                                     PO Box 740039
                                                     Cincinatti, OH 45274-0039

              3.      In the event that any payment required by this Order is not received by
                      the Movant within fifteen (15) days after it is due the Movant may mail a
                      Notice of Default to the Debtor by first class mail, postage prepaid (and,
                      if it desires, also by certified or registered mail) with a copy to the Court,
                      Counsel for Debtor and the Chapter 13 Trustee by first class mail,
                      postage prepaid or by email at the same time as the Notice of Default is
                      mailed to the Debtor. The Notice of Default will state in simple and plain
                      language:

                      a.            That the Debtor is in default in making at least one payment
                                    required under this Order;

                      b.            The date(s) and amount(s) of each payment missed and any late
                                    charge or other fee necessary to cure the default;

                      c.            The action necessary to cure the default, including any address
                                    to which payments must be mailed;

                      d.            That the Debtor or Trustee must take one of the following actions
                                    within fourteen (14) days after the date of the mailing of the
                                    Notice of Default:

                              i.            Cure the default;
                             ii.            File an objection with the Court stating that no default
                                            exists; or
                             iii.           File an objection with the Court stating any other reason
                                            why an Order granting relief from the Automatic Stay
                                            should not be entered;

                      e.            That if the Trustee or Debtor do not take one of the actions set
                                    forth in paragraph 3(d), the Movant may file a certificate that it has
                                    complied with the terms of this Order and that the Court may grant
                                    relief from the Automatic Stay without further notice to the Debtor;
                                    and

                      f.            That if the Automatic Stay is terminated, the collateral may be sold
                                    at foreclosure.

             If the Trustee or Debtor do not take one of the actions set forth in paragraph 3(d), the
      Movant may submit a certificate stating that it has complied with the terms of this Order and that
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      neither the Trustee nor Debtor have taken one of the actions set forth in paragraph 3(d) and may
      submit together with the certificate a draft Order terminating the Automatic Stay.

              If the Trustee or Debtor files an objection to the Notice of Default, the Movant must set the
      matter for hearing and give notice of the hearing to the Debtor, Counsel for Debtor and the Trustee.
      At the hearing, the Court may terminate the stay or take other action appropriate to the
      circumstances.

              4.      The provisions of this Order with respect to regular monthly installment
                      payments expire one year after the date of entry of this Order. In the
                      event of the default in payment of any regular monthly installment
                      payment due more than one year after the date of entry of this Order, the
                      Movant must obtain relief by filing a new motion for relief from stay with
                      appropriate notice and hearing.

              5.       Until the automatic stay is terminated, Movant may not refuse to accept or
                       apply payments tendered by the Debtor, even if such payments are late or
                       in the incorrect amount. Should Movant, at its option, accept a non-timely
                       payment, it shall be without prejudice and shall not constitute a waiver of
                       any default or of any of its rights pursuant to any other provisions
                       contained within this Order.

              6.      The automatic stay is modified to permit the Noteholder or servicing agent
                      to send the Debtor any payment coupons, payment statements or
                      invoices, notices of late payment, notices of payment changes, notices of
                      servicing transfers, or any other notice, other than a notice of acceleration
                      or demand for payment of the entire balance, normally sent to customers
                      in the ordinary course of business, but otherwise such stay shall remain in
                      full force and effect until further order of the court.

              7.       Should the Debtor default pursuant to the terms contained herein, unless
                       otherwise ordered by this Court, Movant shall be entitled to reasonable
                       attorney's fees in the amount of $50.00 for the issuance of a Notice of
                       Default, and additional attorney's fees not to exceed $100.00, for issuance
                       of a Certificate of Default and preparation of an Order Terminating the
                       Automatic Stay.

              8.       In the event of a default which results in the granting of relief, the
                       Chapter 13 Trustee will be relieved of any and all obligation to remit
                       payment incident to the arrearages set forth in the Proof of Claim filed by
                       the Movant.

              9.      Relief is granted as to Albert Veney, Sr, Anastasia Johnson, Rodney
                      Johnson, the Codebtor, from the automatic stay imposed by 1301(a) to
                      the same extent and on the same terms and conditions as granted as to
                      the Debtor.


              DATED:     Jul 19 2020                          /s/ Keith L Phillips
                                                        

                                                        UNITED STATES BANKRUPTCY JUDGE
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                                                NOTICE OF JUDGMENT OR ORDER
                                                Entered on Docket
                                                  Jul 21 2020
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      I ask for this:
      By: /s/JOHNIE R. MUNCY
      Johnie R. Muncy, Esquire, Bar No. 73248
      Nisha R. Patel, Esquire, Bar No. 83302
      Samuel I. White, P.C.
      1804 Staples Mill Road
      Suite 200
      Richmond, VA 23230
      Tel.: (804) 290-4290
      Fax: (804) 290-4298
      jmuncy@siwpc.com
      Counsel for New Rez LLC dba
      Shellpoint Mortgage Servicing as
      servicer for U.S. Bank, N.A., as
      Trustee, successor in interest to
      Wachovia Bank, National Association,
      as Trustee, for Mid-State Trust XI

      Seen and Agreed:

      /s/Michael D. Thomas
      Michael D. Thomas
      Counsel for Debtor
      122 East Pembroke Avenue
      Hampton, VA 23669


      /s/Suzanne E. Wade
      Suzanne E. Wade
      Chapter 13 Trustee
      7202 Glen Forest Drive, Suite 202
      Richmond, VA 23218-1780
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                                          CERTIFICATE OF SERVICE

               I hereby certify that this proposed Order is substantially in compliance with Standing Order
      Number 10-2, with the Court's informal instructions and that it has been endorsed by all necessary
      parties involved in this proceeding.

                                                        By: /s/JOHNIE R. MUNCY
                                                        Johnie R. Muncy, Esquire
                                                        Samuel I. White, P.C.

      The Clerk shall mail a copy of the entered Order to the following:

      Suzanne E. Wade
      Chapter 13 Trustee
      7202 Glen Forest Drive, Suite 202
      Richmond, VA 23218-1780

      Michael D. Thomas
      Counsel for Debtor
      122 East Pembroke Avenue
      Hampton, VA 23669

      Agnes Lavarra Veney
      Debtor
      PO Box 45
      Weems, VA 22576

      Albert Veney, Sr, Anastasia Johnson, and Rodney Johnson
      Codebtor
      2574 Irvington Road
      Weems, VA 22576
